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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JOE ALFRED IZEN, JR. AND ON POINT §
EVENTS, L.P.,                     §
                                  §
                      Plaintiffs  §
                                  §
VS.                               §
                                  § CIVIL ACTION NO. _______________
EVANSTON INSURANCE COMPANY        §
AND MARKEL SERVICE, INC.,         §
                                  §
                      Defendants  §



                                  NOTICE OF REMOVAL


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Defendants Evanston Insurance Company and Markel Service Incorporated (collectively

“Defendants”) files this Notice of Removal pursuant to 28 U.S.C. §1446(a) and respectfully

show the Court as follows:

                              PROCEDURAL BACKGROUND

       1.     On or about December 11, 2015, Plaintiffs filed Plaintiffs’ Original Petition in the

matter styled Joe Alfred Izen, Jr. and On Point Events, L.P. v. Evanston Insurance Company, an

Illinois Corporation d/b/a Evanston Insurance Company and Markel Service, Inc.; Cause No.

2015-74639; In the 270th Judicial District Court, Harris County, Texas (the “State Action”).

This is an insurance coverage lawsuit in which Plaintiffs allege that the Defendants failed to

properly reimburse defense costs for an underlying lawsuit. Plaintiffs have not made a jury

demand.
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                                       BASIS FOR REMOVAL

            2.    Removal is proper under 28 U.S.C. §§ 1332(a)(1), 1441(a), and 1446. There is

complete diversity of citizenship and the amount in controversy is above the required limit.

            3.    In Plaintiffs’ Original Petition, Plaintiffs seek damages in the amount of

$35,864.47, pre- and post-judgment interest, court costs, and other relief to which Plaintiffs

allege that they are entitled. Plaintiffs are also seeking $30,000.00 in legal fees for simply

drafting the Plaintiffs’ Original Petition in the state court action, and such steep legal fees shall

surely increase as this litigation continues. Accordingly, the amount in controversy exceeds the

threshold for the jurisdictional removal requirement of $75,000.

            4.    Upon information and belief, Plaintiff Joe Alfred Izen, Jr. resides in the City of

Houston in Harris County, Texas.

            5.    Upon information and belief, Plaintiff On Point Events, L.P. is a Texas limited

liability partnership with its principal place of business in Houston, Texas.

            5.    Defendant Evanston Insurance Company is incorporated in Illinois with its

principal place of business in Illinois.

            7.    Defendant Markel Service Incorporated (“MSI”) is incorporated in Virginia with

its principal place of business in Virginia.

                        THE REMOVAL IS PROCEDURALLY CORRECT

            15.   Plaintiffs served Defendant Markel Service Incorporated with process through the

Commissioner of Insurance on January 4, 2015. Accordingly, this Notice of Removal is timely.

28 U.S.C. §1446(b).

            16.   Venue is proper in this district under 28 U.S.C. §1446(a) because this district and

division embrace the place in which the removed action has been pending and because a

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substantial part of the events giving rise to the Plaintiffs’ claims allegedly occurred in this

district.

            17.   Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings

in the state court action are attached to this Notice.

            19.   Pursuant to 28 U.S.C. §1446(d), promptly after Defendants file this Notice,

written notice of the filing will be given to Plaintiffs, the adverse party.

            20.   Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of Removal

will be filed with the Clerk of Harris County, promptly after Defendants file this Notice.

                                            CONCLUSION

            21.   Based upon the foregoing and the other documents filed contemporaneously with

this Notice, all fully incorporated herein by reference, Defendants Evanston Insurance Company

and Markel Service Incorporated hereby remove this case to this Court for trial and

determination.

                                                Respectfully submitted,

                                                THOMPSON, COE, COUSINS & IRONS, L.L.P.


                                                By: /s/ Jamie R. Carsey
                                                    Jamie R. Carsey, Attorney-In-Charge
                                                    Texas State Bar No. 24045620
                                                    Federal Id No. 567102
                                                    E-Mail: jcarsey@thompsoncoe.com
                                                    Christina A. Culver
                                                    Texas State Bar No. 24078388
                                                    Federal Id No. 2118731
                                                    E-Mail: charalson@thompsoncoe.com
                                                    One Riverway, Suite 1400
                                                    Houston, Texas 77056-1988
                                                    (713) 403-8210 Telephone
                                                    (713) 403-8299 Facsimile

                                                Counsel for Defendants
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                                         Evanston Insurance Company and
                                         Markel Service Incorporated


                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 3rd day of February, 2016, a true and correct copy
of this instrument was forwarded to all known counsel of record using the Court’s CM/ECF
system, in accordance with the Federal Rules of Civil Procedure and applicable Local Rules.



                                                          /s/ Jamie. R. Carsey
                                                            JAMIE R. CARSEY




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